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                                                                                                March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                   CONSENT TO PROCEED BY
                                                                            VIDEOCONFERENCE
                           -v-
                                                                            _ _-CR-_ _ _LJ           LJ
                                                                             20mj11874
 )O")'t, 1-q; ~G Tl~                 Defendant(s).
---------------------------------------------------------- --x


Defendant SC')·;,E-         -\.-\ & ~g_.6~~               hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

/        Initial Appearance/Appointment of Counsel

         Arraignment (If on Felony Information, Defendant Must Sign Separate Wa iver of
         Indictment Form)

         Preliminary Hearing on Felony Compla int

         Ba ii/Revocation/Detention Hearing

         Status and/or Scheduling Conference

         Misdemeanor Plea/Trial/Sentence




Defendant's Signature                                             Defense Counsel's Signature
(Judge m ay obta in verbal consent on
Record and Sign fo r Defendant)

                                                                              Gsz_.GE rvwALD
Print Defendant's Name                                            Print Defense Counsel's Name



Th is proceeding was conducted by reliable videoconferencing technology.



    11/4/2020
Date                                                              U.S. Magistrate Judge
